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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” on the Gulf of Mexico, on

April 20, 2010 Section J.

THIS DOCUMENT RELATES:

All Cases and 2:10-CV-2771 JUDGE BARBIER

MAGISTRATE JUDGE SHUSHAN

ORDER

Considering the Motion for Acceptance of Limitation Short Form Joinders Filed Beyond the September 16, 2011,
Deadline and Supporting Memorandum of Law:

It is ORDERED that the Motion for Acceptance of Limitation Short Form Joinders listed on Exhibit A Filed
Beyond the September 16, 2011 Deadline are GRANTED. Claimants’ Short Form Joinder attached as Exhibit A, filed
into the record of Civil Action No. 10-8888 shall be considered timely filed in the Transocean Limitation (Civil
Action No. 10-2771).

Signed this day of , 2012

Honorable Carl J. Barbier, U.S. District Court Judge
